,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 1 of 22 PagelD# 181

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division
LAMAR ROSHAN HOLLOMAN,
Plaintiff,
Vv. ACTION NO. 2:19cv455

HUNTINGTON INGALLS INCORPORATED,

Defendant.

MEMORANDUM OPINION AND ORDER

In this action, pro se Plaintiff Lamar Roshan Holloman
(“Plaintiff”) asserts claims against Defendant Huntington Ingalls
Incorporated (“Defendant”) for retaliatory discharge and
retaliatory failure to rehire in violation of Title VII of the Civil
Rights Act of 1964 (“Title VII”), and for a violation of 42 U.S.C.
§ 1981. Am. Compl. at 1-3, ECF No. 24. This matter is before the
court on Plaintiff’ s Motion to Compel, and Defendant's Partial Motion
to Dismiss, in which Defendant seeks the dismissal of Plaintiff's
Title VII claims.1 Mot. Compel, ECF No. 26; Partial Mot. Dismiss,
ECF No. 28. The court finds that oral argument is unnecessary
because the facts and legal arguments are adequately presented in
the parties’ briefs. For the reasons set forth below, Plaintiff's

Motion to Compel, ECF No. 26, is DENIED; and Defendant’s Partial

 

1 Defendant does not seek the dismissal of Plaintiff’s § 1981
claim at this time. Mem. Supp. Partial Mot. Dismiss at 1 n.1, ECF
No. 29.
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 2 of 22 PagelD# 182

Motion to Dismiss, ECF No. 28, is GRANTED in part and DENIED in part.
Defendant’s motion is GRANTED as to Plaintiff’s Title VII retaliatory
discharge claim, and DENIED as to Plaintiff’s Title VII retaliatory
failure to rehire claim.

I. Factual and Procedural Background

On August 27, 2019, Plaintiff filed an application to proceed
in forma pauperis (“IFP Application”), along with a proposed
Complaint. IFP Appl., ECF No. 1. On August 29, 2019, the court
granted Plaintiff’s IFP Application, and directed the Clerk to file
Plaintiff’s Complaint. Order, ECF No. 2; Compl., ECF No. 3.

Plaintiff utilized a form “Complaint for a Civil Case” as his
Complaint in this action. Compl. at 1-5. In the “Basis for
Jurisdiction” section of his Complaint, Plaintiff stated: “I believe
I was discharged in retaliation for protesting a protected activity.”
Id. at 3. In the “Statement of Claim” section of his Complaint,
Plaintiff stated: “I was not given a reason for my discharge. I
believe I was discharged for protesting a protected activity.” Id.
at 4. Plaintiff provided no further factual allegations in the body
of his Complaint. Id. at 1-5.

Plaintiff attached to his Complaint: (i) a Charge of
Discrimination filed against Defendant with the Equal Employment
Opportunity Commission (“EEOC”); and (ii) a Right to Sue Letter
received from the EEOC. EEOC Charge, ECF No. 3-1 at 1, 3; Right Sue

Letter, ECF No. 3-1 at 2.
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 3 of 22 PagelD# 183

In his EEOC Charge, which Plaintiff filed on May 22, 2019,
Plaintiff alleged that Defendant unlawfully retaliated against him,
and specifically identified June 29, 2018, as the “latest” date that
the alleged discrimination took place. EEOC Charge atl. Plaintiff
described the alleged wrongdoing as follows:

I. I began employment on or about October 2017
as a Structural Welder for the Respondent.
Throughout my tenure, I have always met or
exceeded my performance expectations. On or
about March 2018, I was approached by my
supervisor Robby Mysic, white, and asked if I
had any Charges of Discrimination pending
against anyone. I confirmed to him that I had
a pending lawsuit against Newport News
Industrial. After that, I began to experience
adverse employment actions such as being denied
time off, being sent home more than my
co-workers due to no work being available and
often being informed to stay home for similar
reasons.

In April 2018, I was informed by Robby Mysic that
my attendance was a problem and I asked to speak
with Tim Johnson. I informed Tim that most of
the days in question were days that I was either
sent home or told to stay home due to lack of
work. Tim informed me that I would be placed
on a probationary period. I signed the
probation paperwork and was compliant for the
next three months. I informed Tim Johnson that
I felt like I was being treated unfairly because
I had filed Charges against my former employer.
Tim Johnson did not address my concerns at that
time. In July 2018, '!2) I requested three weeks

 

2 Based on the other factual allegations in Plaintiff’s EEOC
Charge, as well as the factual allegations asserted in Plaintiff’s
Amended Complaint, it appears that Plaintiff’s reference to “July
2018” is a typographical error, and that Plaintiff intended to refer
to “June 2018.” See EEOC Charge, ECF No. 3-1 at 1 (alleging that
Plaintiff was discharged from his employment in June 2018); Am.
Compl. at 2, ECF No. 24 (alleging that Plaintiff “requested a few
weeks off to take care of personal business” in “June 2018”).
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 4 of 22 PagelD# 184

off to take care of personal business and it was
approved by Tim Johnson. While I was on
vacation, King, FNU was promoted to supervisor.
Upon my return to work on or about the end of
June 2018, I was informed by King that I was
discharged. My badge was taken and I was
escorted off the premises.

II. I was not given a reason for my discharge.
III. I believe I was discharged in retaliation
for protesting a protected activity, in
violation of Title VII

Id. at 1-2.3

As mentioned above, Plaintiff filed his EEOC Charge on May 22,
2019. Id. at 1. On August 13, 2019, the EEOC mailed Plaintiff a
Right to Sue Letter, in which it stated: “Your charge was not timely
filed with the EEOC; in other words, you waited too long after date(s)
of the alleged discrimination to file your charge.” Right Sue Letter
at l.

On October 25, 2019, Defendant filed an Answer to Plaintiff's
Complaint. Answer, ECF No. 10. On November 8, 2019, the court
issued a Rule 26(f) Pretrial Order that, among other things, ordered
the parties to meet for a Rule 16(b) scheduling conference on December
2, 2019. Rule 26(f) Pretrial Order at 1, ECF No. 11.

On November 18, 2019, Defendant filed a Motion for Judgment on

the Pleadings. Mot. J. Pleadings at 1-2, ECF No. 12. Plaintiff's

deadline to respond to Defendant’s Motion for Judgment on the

 

3 Plaintiff declared, under penalty of perjury, that the
allegations of his EEOC Charge were “true andcorrect.” EEOC Charge,
ECF No. 3-1 at l.
, Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 5 of 22 PagelD# 185

Pleadings did not expire until December 9, 2019, after the date set
for the Rule 16(b) scheduling conference. The parties met for the
Rule 16(b) scheduling conference on December 2, 2019, and the court
issued a Rule 16(b) Scheduling Order on the same day. Rule 16(b)
Scheduling Order, ECF No. 14.

Once the briefing period for Defendant's Motion for Judgment
on the Pleadings closed, the court reviewed the parties’ filings.
In its motion, Defendant argued that “[i]t is clear from the face
of Plaintiff's Complaint .. . that Plaintiff’s Title VII claim is
time-barred and cannot proceed” because Plaintiff “did not file a
timely EEOC Charge.” Mem. Supp. Mot. Jd. Pleadings at 1-2, ECF
No. 13.

An individual alleging discrimination in violation of Title VII
must first file an administrative charge with the EEOC and exhaust
administrative remedies before filing a lawsuit in federal district

court. Balas v. Huntington Ingalls Indus., Inc., 711 F.3d 401,

 

406-07 (4th Cir. 2013); Jones v. Calvert Grp., Ltd., 551 F.3d 297,

 

300 (4th Cir. 2009); Chacko v. Patuxent Inst., 429 F.3d 505, 508 (4th

 

Cir. 2005). As this court has explained:

[A]n employee challenging an employment
practice of an employer in Virginia has 300 days
from the last date of alleged discrimination to
file a charge with the EEOC. If the statutory
time period elapses between the allegedly
discriminatory incident and the filing of the
EEOC charge, the litigant is forever barred from
Title VII relief.
_ Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 6 of 22 PagelD# 186

Edwards v. Murphy-Brown, L.L.C., 760 F. Supp. 2d 607, 619 (E.D. Va.
2011) (internal citation omitted).
In its Motion for Judgment on the Pleadings, Defendant argued:

In Plaintiff’s EEOC Charge, which is attached
to the Complaint, Plaintiff affirmatively
states that the last discriminatory act
allegedly occurred on June 29, 2018—-the date he
was “discharged”—and Plaintiff does not allege
that he experienced any further discrimination
or retaliation after that date. Though the
last act of discrimination allegedly occurred
on June 29, 2018, Plaintiff did not file his EEOC
Charge until May 22, 2019-328 days later and 28
days beyond the statutory deadline.
Accordingly, Plaintiff’s failure to file his
EEOC Charge within 300 days of his departure
from [Defendant] proves fatal to his claim and
Defendant is entitled to judgment on the
pleadings.

Mem. Supp. Mot. J. Pleadings at 2.

In his Opposition to Defendant’s Motion for Judgment on the
Pleadings, Plaintiff claimed, contrary to the allegations of his EEOC
Charge, that he “was not given notice of a release from work” on June
29, 2018. Opp’n at 1, ECF No. 15. Plaintiff claimed that he was
told “only that there was a misunderstanding and communication issue
with the vacation time [Plaintiff] took,” and that Plaintiff “didn’t
get notice of [his] release from the defendant until the day
[Plaintiff] filed [his] retaliation complaint with the EEOC on May
22, 2019.” Id. at 2. Plaintiff also claimed that he “is still t[o]
this day being retaliated against by being denied employment” with
Defendant. Id. at 1. Plaintiff stated: “Whenever staffing

companies contact me because of openings” with Defendant, Defendant
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 7 of 22 PagelD# 187

“will reject my submission without reason while other lesser
qualified candidates are accepted.” Id.

In its Reply, Defendant argued that the court “is not required
to accept” the new, contradictory allegations set forth in
Plaintiff’s Opposition regarding Plaintiff’s discharge date. Reply
at 2, ECF No. 16. Defendant further argued that, to the extent
Plaintiff now seeks to assert a retaliatory failure to rehire claim
against Defendant, such claim necessarily fails because Plaintiff
did not exhaust his administrative remedies with respect to such
claim. Id. at 6-9.

In a Memorandum Order dated March 17, 2020, the court explained
that “a complaint may not be amended by the briefs in opposition to
a motion to dismiss.” Mem. Order at 8, ECF No. 17 (quoting Katz v.

Odin, Feldman & Pittleman, P.C., 332 F. Supp. 2d 909, 917 n.9 (E.D.

 

Va. 2004)). As such, the court determined that “Plaintiff’s attempt
to add new factual allegations and a new claim to his Complaint via
his Opposition [was] improper.” Id. However, in deference to
Plaintiff's pro se status, the court granted Plaintiff leave to file
an Amended Complaint that “clarifie[d] his intended claims and the
factual basis for such claims.” Id. at 8-9. With respect to the
specific claims that Plaintiff may attempt to assert in his Amended
Complaint, the court explained:

The court need not authorize the filing of an

Amended Complaint if it is clear that it would

be futile to do so. Under the circumstances of
the present case, it is clear that it would be
, Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 8 of 22 PagelD# 188

futile for Plaintiff to amend his Complaint to
include allegations regarding his discharge
date that directly contradict sworn statements
previously made by Plaintiff in his EEOC Charge.
However, the futility of a potential
retaliatory failure to rehire claim will likely
depend on the specific facts upon which
Plaintiff intends to rely to support such claim.
In deference to Plaintiff’s pro se status, the
court will allow Plaintiff an opportunity to
present such facts to the court via an Amended
Complaint.
Id. at 9n.4 (citations omitted).

Because the court granted Plaintiff leave to file an Amended
Complaint, the court indicated that Defendant’s Motion for Judgment
on the Pleadings, which sought the dismissal of Plaintiff’s original
Complaint, would be dismissed as moot, upon the filing of Plaintiff's
Amended Complaint. Id. at 10.

Further, in light of the court’s decision to grant Plaintiff
leave to file an Amended Complaint, the court vacated the deadlines
imposed by the court’s Rule 16(b) Scheduling Order, and stated that
“[u]pon review of Plaintiff’s Amended Complaint and Defendant’s
responsive pleading, the court will issue a separate Order regarding
the issuance of an Amended Rule 16(b) Scheduling Order, if
necessary.” Id.

Plaintiff subsequently filed an untimely and incomplete Amended
Complaint that did not include a required Certificate of Service.

Am. Compl., ECF No. 21; Order at 1-2, ECF No. 23. In an Order dated

May 11, 2020, the court directed the Clerk to strike Plaintiff's
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 9 of 22 PagelD# 189

Amended Complaint fromthe record, but granted Plaintiff an extension
of time to file a proper Amended Complaint. Order at 2.

On May 27, 2020, Plaintiff filed an Amended Complaint, as well
as a Motion to Compel. Am. Compl., ECF No. 24; Mot. Compel, ECF
No. 26. On June 10, 2020, Defendant filed a Partial Motion to
Dismiss, and provided pro se Plaintiff with a proper Roseboro Notice
pursuant to Rule 7(K) of the Local Civil Rules of the United States
District Court for the Eastern District of Virginia. Partial Mot.
Dismiss at 1-2, ECF No. 28; E.D. Va. Loc. Civ. R. 7(K). Both pending
motions are ripe for adjudication.’

II. Plaintiff's Amended Complaint

In his Amended Complaint, Plaintiff alleges that he was employed
by C.A. Jones, a staffing agency, and was assigned by C.A. Jones to
work as a structural welder for Defendant in October 2017. Am.
Compl. at 1. ECF No. 24. Plaintiff alleges that during this time,

he “always met or exceeded . . . performance expectations.” Id.

 

4 After the briefing on Defendant’s Partial Motion to Dismiss
closed, Plaintiff filed a Surreply without seeking leave of court
to do so. Surreply, ECF No. 34; see E.D. Va. Loc. Civ. R. 7(F) (1)
(explaining that after “a non-moving party files a brief in
opposition to an opposing party’s motion” and the moving party files
a reply brief, “(nJo further briefs or written communications may
be filed without first obtaining leave of [c]ourt”). In deference
to Plaintiff’s pro se status, the court has considered Plaintiff's
Surreply in its analysis of Defendant’s motion.

9
Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 10 of 22 PagelD# 190

Plaintiff further alleges that in March 2018, Plaintiff's
supervisor, Robby Mycyk,°® asked Plaintiff if he “had any charges of
discrimination pending against anyone.” Id. Plaintiff alleges
that after he told Mr. Mycyk that he “had a pending lawsuit against
Newport News Industrial,” a company that Plaintiff claims is
affiliated with Defendant, Plaintiff “began to experience more
adverse employment actions.” Id. at 1-2. Plaintiff specifically
alleges that he was “denied time off,” “sent home more than [his]
coworkers due to weather or availability of work,” and often told
to “stay home for similar reasons.” Id. at 2.

Plaintiff alleges that in April 2018, Mr. Mycyk told Plaintiff
that his “attendance was a problem,” and that Plaintiff asked to speak
with his general foreman, Tim Johnson, about the issue. Id.; see
Attach. 1 at 1, ECF No. 24-1. Plaintiff advised Mr. Johnson that
“most of the days in question were days that [Plaintiff] was either
sent home or told to stay home due to lack of work.” Am. Compl. at 2.
Nevertheless, Plaintiff alleges that he was “placed on a probationary
period.” Id.

Plaintiff further alleges that in June 2018, he requested—and
was approved-to take “a few weeks off to take care of personal
business.” Id. When Plaintiff returned from leave in June 2018,

Plaintiff alleges that he “was informed by King[,] [Plaintiff's]

 

5 The court notes that Plaintiff refers to his supervisor’s last
name as both “Mysic” and “Mycyk.” EEOC Charge, ECF No. 3-1 at 1;
Am. Compl. at 1, ECF No. 24.

10
.Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 11 of 22 PagelD# 191

supervisor at the time[,] that [Plaintiff] was discharged from the
premises and that [his] badge should have been turned off.” Id
Plaintiff alleges that he “was escorted off the premises.” Id
Plaintiff further alleges that he asked Mr. King to provide the
reasons for these actions, and Mr. King “said something about
[Plaintiff's] attendance and vacation.” Id.

Plaintiff alleges that he contacted his staffing agency, C.A.
Jones, “to inquire what was going on,” but that “[m]onths went by”
without a response. Id. Plaintiff alleges that on May 22, 2019,
he was advised by C.A. Jones that Defendant ended Plaintiff’s
employment on June 29, 2018. Id. Plaintiff claims that he was
“discharged from the premises and terminated in retaliation for
protesting a protected activity in violation of Title VII and
42 U.S.C. § 1981.” Id.

Plaintiff further claims that he subsequently attempted to
“regain employment” with Defendant “through two different agencies.”
Id. at 1. Plaintiff claims that although Defendant is hiring and
“pringing in other welders to work,” “someone within management” is
telling the agencies “not to bring [Plaintiff] in.” Id. Plaintiff
claims that other “less experienced candidates .. . are gaining and
regaining employment” with Defendant. Id.

III. Plaintiff's Motion to Compel
As explained above, on March 17, 2020, the court issued a

Memorandum Order that, among other things, (i) granted Plaintiff

11
.Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 12 of 22 PagelD# 192

leave to file an Amended Complaint; and (ii) vacated the deadlines
imposed by the court’s Rule 16(b) Scheduling Order. Mem. Order
at 1-11, ECF No. 17. The court explained that “[u]pon review of
Plaintiff’s Amended Complaint and Defendant’s responsive pleading,
the court will issue a separate Order regarding the issuance of an
Amended Rule 16(b) Scheduling Order, if necessary.” Id. at 11.
Plaintiff filed a Motion to Compel on May 27, 2020, the same

day that Plaintiff filed his Amended Complaint. Mot. Compel, ECF
No. 26; Am. Compl., ECF No. 24. In his Motion to Compel, Plaintiff
appears to take issue with Defendant’s objections to the following
two document requests that Plaintiff served on Defendant prior to
the filing of Plaintiff’s Amended Complaint:

1. [DJocuments of payroll attendance of all

leased employees during my employment at

Huntington Ingalls Industries from October 2017
til June 2018.

2. [AJll text messages, emails, documents,
statements, communications, that relate[] to

Lamar Holloman’s complaint and termination from
Huntington Ingalls Industries.

Objs., ECF No. 30-1, at 3-4 (first two alterations in original) .é
Defendant objected, generally, to all of Plaintiff’s document
requests “on the grounds that they are premature.” Id. at 2.

Defendant stated:

 

6 Plaintiff’s Motion to Compel does not include the full text
of the document requests at issue; however, Defendant attached a copy
of its objections to Plaintiff’s document requests to its Opposition
to Plaintiff’s Motion to Compel, and the full text of the relevant
document requests is contained therein. Mot. Compel at 1-5, ECF
No. 26; Objs., ECF No. 30-1 at 1-5.

12
Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 13 of 22 PagelD# 193

On March 17, 2020, the Court entered af]
Memorandum Order [ECF No. 17], in which the
Court vacated the deadlines set forth in [the]
Court’s Rule 16(b) Scheduling Order and the
Court has not issued a new Rule 16(b) Scheduling
Order. Accordingly, Plaintiff’s Requests are
not proper at this time. HII will provide
responses to Plaintiff’s Requests once the
Court issues a Rule 16(b) Scheduling Order
permitting discovery to resume in this case.

Id. (second alteration in original).
In response to Plaintiff's request for “payroll attendance”
documents, Defendant specifically objected as follows:

HII objects to this Request on the grounds that
the phrase “[d]ocuments of payroll attendance”
is vague and ambiguous. HII further objects to
this Request on the grounds that it is overly
broad, unduly burdensome, irrelevant, and not
proportional to the needs of the case to the
extent it seeks payroll, attendance, or any
other records related to any leased employee
other than Plaintiff. HII also objects to this
Request to the extent that it suggests that HII
employed Plaintiff. At all times, Plaintiff
was employed by C.A. Jones, Inc., a third party
staffing agency. Subject to and without
waiving its objections, HII will produce
Plaintiff’s payroll and attendance records
during the requested time frame related to
Plaintiff’s work at HII that are in HII’s
possession, custody, or control once the Court
enters a Rule 16(b) Scheduling Order and
discovery resumes in this case.

In his Motion to Compel, Plaintiff appears to suggest that he
is willing to narrow the scope of his request for “payroll attendance”
documents. Mot. Compel at 5 (suggesting that Plaintiff would be

willing to accept the “payroll attendance” documents of “all

13
. Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 14 of 22 PagelD# 194

employees working under [Plaintiff’s] direct supervisor,” which
would be “less than 15 individuals”).

In response to Plaintiff’s request for documents that relate
to his “complaint and termination,” Defendant specifically objected
as follows:

HII objects to this Request on the grounds that
it is overly broad, unduly burdensome, and not
proportional to the needs of the case to the
extent it seeks any and all text messages,
emails, documents, statements and
communications from an unlimited number of
possible custodians that relate in any way to
any of the allegations in Plaintiff’s Complaint
and his purported “termination” from HII,
including those aspects of Plaintiff’s
Complaint and/or his “termination” that are not
Material to the litigation or otherwise in
dispute. HII also objects to this Request to
the extent that it suggests that Plaintiff was
employed or “terminat[ed]” from HII. At all
relevant times, Plaintiff was employed by C.A.
Jones, Inc., a third party staffing agency, and
Plaintiff was never employed by or
“terminat({ed]” from HII. Subject to and
without waiving its objections, HII will
produce responsive documents that are in HII’s
possession, custody, or control that can be
located through a reasonable search of HII’s
records once the Court enters a Rule 16(b)
Scheduling Order and discovery resumes in this
case.

Objs. at 4.

In light of Defendant’s willingness to provide certain
documents once the court issues an Amended Rule 16(b) Scheduling
Order, and Plaintiff’s willingness to narrow the scope of certain
document requests, it does not appear that Plaintiff’s Motion to

Compel contains an active dispute that requires the court’s attention

14
.Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 15 of 22 PagelD# 195

at this time. Accordingly, Plaintiff's Motion to Compel, ECF
No. 26, is DENIED.
IV. Defendant's Partial Motion to Dismiss

BR. Standard of Review Under Federal Rule 12 (b) (6)

Defendant seeks dismissal of Plaintiff’s Title VII claims
pursuant to Rule 12(b) (6) of the Federal Rules of Civil Procedure.
A motion to dismiss under Federal Rule 12(b) (6) should be granted
if the plaintiff fails to “allege facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

 

544, 570 (2007). A Rule 12(b) (6) motion “tests the sufficiency of
a complaint and ‘does not resolve contests surrounding the facts,
the merits of a claim, or the applicability of defenses.’” Johnson

v. Portfolio Recovery Assocs., LLC, 682 F. Supp. 2d 560, 567 (E.D.

 

Va. 2009) (quoting Republican Party of N.C. v. Martin, 980 F.2d 943,

 

952 (4th Cir. 1992)). As such, the court must accept all factual
allegations contained in Plaintiff’s Amended Complaint as true and
draw all reasonable inferences in favor of Plaintiff. Id.
“Although the truth of the facts alleged is assumed, courts are not
bound by the ‘legal conclusions drawn from the facts’ and ‘need not
accept as true unwarranted inferences, unreasonable conclusions, or
arguments.’” Id. (quoting E. Shore Mkts., Inc. v. J.D. Assocs. Ltd.
P’ship, 213 F.3d 175, 180 (4th Cir. 2000)).

Further, “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice” to

15
(Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 16 of 22 PagelD# 196

survive a motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 678

 

(2009). However, “in cases where the plaintiff appears pro se,
courts do not expect the pro se plaintiff to frame legal issues with
the clarity and precision expected fromlawyers.” Suggs v. M&T Bank,
230 F. Supp. 3d 458, 461 (E.D. Va. 2017) (citing Beaudett v. City
of Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985)). In such cases,
courts are required to construe the operative complaint liberally.
Id.

In ruling on a Rule 12(b) (6) motion, the court may consider the
allegations of the operative complaint, as well as documents attached
as exhibits or incorporated into the operative complaint by
reference. Simons v. Montgomery Cty. Police Officers, 762 F.2d 30,
31 (4th Cir. 1985).

B. Title VII Retaliatory Discharge Claim

In its Partial Motion to Dismiss, Defendant argues that
Plaintiff’s Title VII retaliatory discharge claim should be
dismissed because Plaintiff failed to timely exhaust his
administrative remedies for this claim. Mem Supp. Partial Mot.
Dismiss at 6-8, ECF No. 29.

As discussed above, an individual who is “challenging an
employment practice of an employer in Virginia has 300 days from the
last date of alleged discrimination to file a charge with the EEOC.”

Edwards v. Murphy-Brown, L.L.C., 760 F. Supp. 2d 607, 619 (E.D. Va.

 

2011) (internal citation omitted). If the individual fails to

16
(Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 17 of 22 PagelD# 197

timely file a charge with the EEOC, the individual “is forever barred
from Title VII relief” as to that particular claim. Id.

Defendant argues that Plaintiff's previously filed EEOC Charge’
establishes the untimely nature of Plaintiff’s attempt to exhaust
his administrative remedies for his retaliatory discharge claim.
Mem. Supp. Partial Mot. Dismiss at 6. Defendant argues:

Plaintiff once again tries to contradict the
allegations in his sworn EEOC Charge in order
to revive his untimely Title VII discharge
claim. Plaintiff did not mince his words in his
EEOC Charge. Plaintiff stated clearly (under
penalty of perjury) that the last
discriminatory act took place on “06-29-2018”
and explained in the narrative section of his
EEOC Charge that: “Upon my return to work on or
about the end of June 2018, I was informed by
King that I was discharged.” Plaintiff further
stated that his “badge was taken and [he] was
escorted off the premises” the same day.
Despite these unambiguous allegations in his
EEOC Charge, Plaintiff now alleges that he did
not “hear that [he] was terminated from
employment until [he] called his staffing
agency” on May 22, 2019-the day he filed his EEOC
Charge.

 

 

Plaintiff's Amended Complaint not only directly
contradicts his EEOC Charge, but ignores this
Court’s admonishment that “it would be futile
for Plaintiff to amend his Complaint to include
allegations regarding his discharge date that

directly contradict sworn statements
previously made by Plaintiff in his EEOC
Charge.”

 

7 The court notes that Plaintiff attached a copy of his EEOC
Charge to his initial Complaint, but did not attach a copy to his
Amended Complaint; however, the court may nevertheless consider
Plaintiff’ s EEOC Charge in its analysis of Defendant’s motion because
it is incorporated into Plaintiff’s Amended Complaint by reference.
See Simons v. Montgomery Cty. Police Officers, 762 F.2d 30, 31 (4th
Cir. 1985).

 

17
Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 18 of 22 PagelD# 198

Id. at 6 (emphasis in original) (citations omitted).

Defendant further argues that allowing Plaintiff to contradict
his prior sworn statements to the EEOC “would frustrate the entire
purpose behind Title VII’s administrative scheme.” Id. at 7.
Defendant argues:

Plaintiff’s Right-to-Sue Notice clearly shows
that the EEOC relied on Plaintiff’s factual
representations regarding the timing of his
“discharge” to dismiss his claims as untimely.
As such, and regardless of its underlying
accuracy, Plaintiff denied the EEOC “the
opportunity to investigate and mediate the
claim” and Plaintiff has, therefore, failed to
exhaust his administrative remedies.
Id. at 8 (citations omitted).

It is undisputed that Plaintiff filed an EEOC Charge on May 22,
2019, in which Plaintiff stated, under penalty of perjury: “Upon
my return to work on or about the end of June 2018, I was informed
by King that I was discharged. My badge was taken and I was escorted
off the premises.” EEOC Charge, ECF No. 3-1, at 1. Because
Plaintiff’s EEOC Charge was filed more than 300 days after
Plaintiff’s discharge, it is clear that Plaintiff did not timely
exhaust his retaliatory discharge claim. Although the court granted
Plaintiff leave to file an Amended Complaint, it explicitly warned
Plaintiff that “it would be futile for Plaintiff to amend his
Complaint to include allegations regarding his discharge date that

directly contradict sworn statements previously made by Plaintiff

in his EEOC Charge.” Mem. Order at 9n.4, ECF No. 17. Despite the

18
. Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 19 of 22 PagelD# 199

court’s warning, Plaintiff takes this exact approach in his Amended
Complaint. Am. Compl. at 1-3, ECF No. 24.

Here, the court finds that Plaintiff did not timely exhaust his
retaliatory discharge claim because he did not file a charge with
the EEOC within 300 days from the date of his discharge. The court
further finds that it need not accept as true Plaintiff’s allegation
in his Amended Complaint that he did not learn of his discharge until
May 22, 2019, because such allegation directly conflicts with the
sworn statements made by Plaintiff is his EEOC Charge. See Johnson

v. Portfolio Recovery Assocs., LLC, 682 F. Supp. 2d 560, 567 (E.D.

 

Va. 2009) (explaining that the court “need not accept as true
unwarranted inferences, unreasonable conclusions, or arguments”
when analyzing a motion filed under Federal Rule 12 (b) (6)); see also

Hill v. Jamestown-Yorktown Found., No. 4:18cv137, 2019 U.S. Dist.

 

LEXIS 118448, at *28 (E.D. Va. July 15, 2019) (finding allegations
in a complaint to be unwarranted based on statements made in a
previously filed EEOC Charge). Accordingly, Defendant’s Partial
Motion to Dismiss, ECF No. 28, is GRANTED as to Plaintiff’s Title
VII retaliatory discharge claim.

C. Title VII Retaliatory Failure to Rehire

As summarized above, Plaintiff alleges in his Amended Complaint
that Defendant has been hiring and “bringing in other welders to
work.” Am. Compl. at 1, ECF No. 24. Plaintiff alleges that he has

attempted to “regain employment” with Defendant “through two

19
» Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 20 of 22 PagelD# 200

different agencies,” but that “someone within management” has
prevented Plaintiff’s rehire, and instead has hired other “less
experienced candidates.” Id. In its Partial Motion to Dismiss,
Defendant argues that Plaintiff’s retaliatory failure to rehire
claim should be dismissed because Plaintiff failed to exhaust his
administrative remedies for this claim. Mem. Supp. Partial Mot.
Dismiss at 8-12.

Plaintiff's May 22, 2019 EEOC Charge contains no allegations
regarding a retaliatory failure to rehire. However, in Nealon v.
Stone, 958 F.2d 584 (4th Cir. 1992), the United States Court of
Appeals for the Fourth Circuit held that a plaintiff may assert a
Title VII retaliation claim for the first time in federal court if
the alleged retaliation is based on the filing of a previous EEOC
Charge. Id. at 590; see Hentosh v. Old Dominion Univ., 767 F.3d 413,
416-17 (4th Cir. 2014). The Fourth Circuit described this rule as
“the inevitable corollary of our generally accepted principle that
the scope of a Title VII lawsuit may extend to any kind of
discrimination like or related to allegations contained in the charge
and growing out of such allegations during the pendency of the case
before the Commission.” Nealon, 958 F.2d at 590 (internal citations
omitted). Courts have explained, however, that Nealon does not
provide “a blanket exception” to the administrative exhaustion

requirement for all retaliation claims. Davidson v. Sarnova,

 

No. JKB-17-1067, 2017 U.S. Dist. LEXIS 132106, at *11 (D. Md. Aug.

20
,Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 21 of 22 PagelD# 201

18, 2017). Instead, Nealon simply provides that a plaintiff “need
not file a second administrative complaint” if “the purported
retaliation is in response to an administrative complaint itself.”
Id. (emphasis added).

Based on a liberal construction of pro se Plaintiff’s Amended
Complaint, the court finds that Plaintiff’s retaliatory failure to
rehire claim adequately alleges that Defendant failed to rehire
Plaintiff in retaliation for the filing of Plaintiff's May 22, 2019
EEOC Charge. See Am. Compl. at 1 (alleging that Plaintiff filed an
EEOC Charge on May 22, 2019, and that Plaintiff is “continually being
retaliated against” because management will not rehire him).
Therefore, in light of Nealon, the court finds that Plaintiff's
retaliatory failure to rehire claimis not subject to dismissal based
on Defendant’s arguments regarding lack of administrative remedy
exhaustion.® Accordingly, Defendant’s Partial Motion to Dismiss,
ECF No. 28, is DENIED as to Plaintiff’s Title VII retaliatory failure

to rehire claim.?

 

8 The court notes, for the sake of clarity, that Plaintiff’s
retaliatory discharge claim required timely exhaustion because the
retaliatory acts alleged therein were based on protected activity
that allegedly occurred prior to the filing of Plaintiff’s May 22,
2019 EEOC Charge. The retaliatory acts alleged in Plaintiff's
retaliatory failure to rehire claim, on the other hand, are alleged
to have occurred as a result of the May 22, 2019 EEOC Charge.

2 In its Partial Motion to Dismiss, Defendant also argues that,
to the extent Plaintiff’s Amended Complaint seeks to assert a “breach
of contract claim separate from [Plaintiff’s] 42 U.S.c. § 1981
claim,” Plaintiff has alleged insufficient facts to state such a

21
Case 2:19-cv-00455-RBS-DEM Document 35 Filed 11/05/20 Page 22 of 22 PagelD# 202

Defendant is ORDERED to file its responsive pleading to the
remaining claims in this action in accordance with Federal Rule
12 (a) (4). Upon receipt of Defendant’s responsive pleading, the
court will provide the parties with further instruction regarding
scheduling issues.

V. Conclusion

For the reasons set forth above, Plaintiff’s Motion to Compel,
ECF No. 26, is DENIED; and Defendant’s Partial Motion to Dismiss,
ECF No. 28, is GRANTED in part and DENIED in part. Defendant’s motion
is GRANTED as to Plaintiff’s Title VII retaliatory discharge claim,
and DENIED as to Plaintiff’s Title VII retaliatory failure to rehire
claim. Defendant is ORDERED to file its responsive pleading to the
remaining claims in this action in accordance with Federal Rule
12(a) (4). Upon receipt of Defendant’s responsive pleading, the
court will provide the parties with further instruction regarding
scheduling issues.

The Clerk is DIRECTED to send a copy of this Memorandum Opinion
and Order to Plaintiff and counsel for Defendant.

IT IS SO ORDERED.

wp __ ~C-

Rebecca Beach Smith
November § , 2020 Senior United States District Judge

 

claim. Mem. Supp. Partial Mot. Dismiss at 12 n.4, ECF No. 29. The
court does not construe Plaintiff’s Amended Complaint as asserting
a separate breach of contract claim against Defendant. Therefore,
the court need not address Defendant’s additional argument.

22
